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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 HANSEL AGUILAR,

                Plaintiff,

        v.                                          Civil Action No. 1:21-cv-00431-TNM

 DISTRICT OF COLUMBIA,

                Defendant.


                                  JOINT STATUS REPORT

       On June 25, 2021, this Court granted Defendant’s Consent Motion to Stay Proceedings

[10] pending a final decision in Plaintiff’s underlying administrative appeal. See June 25, 2021

Minute Order. The Court further ordered the Parties to submit a joint status report every 30

days, beginning August 23, 2021, advising on the current procedural posture of Plaintiff’s

administrative matter. Id. Under the Court’s June 25 Minute Order, the Parties filed a status

report every 30-days for the past thirteen months, and now submit the following update.

       Plaintiff appealed his termination to the District of Columbia Office of Employee

Appeals (OEA) in June 2019. In August 2020, OEA issued an initial decision reversing

Plaintiff’s termination, ordering his reinstatement, and awarding all back pay and benefits.

Plaintiff’s former employer, the District of Columbia Office of Police Complaints (OPC),

appealed OEA’s initial decision to the Superior Court of the District of Columbia. See District

of Columbia Office of Police Complaints v. District of Columbia Office of Employee Appeals and

Hansel Aguilar, Case No. 2020 CA 004294 P. On June 24, 2021, Judge Shana Frost Matini

issued an order remanding the administrative case to OEA for further proceedings on three

administrative charges against Plaintiff. Id. On remand, OEA Senior Administrative Judge
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Joseph Lim upheld the agency’s summary termination of Plaintiff. Plaintiff filed a Petition for

Review of the decision with the OEA on February 18, 2022. The OEA Board considered the

matter on June 30, 2022, and denied Plaintiff’s petition, sustaining the removal. Plaintiff filed a

Petition for Review of OEA’s decision in the Superior Court of the District of Columbia on

August 1, 2022, which remains pending. See Hansel Aguilar v. District of Columbia Office of

Employee Appeals and District of Columbia Office of Police Complaints, Case No. 2022 CA

003383 P.

       Under the June 25, 2021 Minute Order, the Parties will submit their next joint report in

30 days, on October 21, 2022.

Date: September 21, 2022                      Respectfully submitted,

                                              /s/ Laura Nagel (with permission)
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